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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

       Plaintiff,
                                               Case No. 11-20564
 v.
                                               Hon. John Corbett O’Meara
 CLARENCE WILLIAMSON,

      Defendant.
 ______________________________/


                        ORDER DENYING MOTION FOR
                         ACQUITTAL OR NEW TRIAL

       Before the court is Defendant’s motion for acquittal pursuant to Fed. R.

 Crim. P. 29 or a new trial pursuant to Fed. R. Crim. P. 33. On December 22, 2014,

 Defendant was convicted of conspiring to distribute marijuana and cocaine, money

 laundering, and the use of a firearm in the furtherance of a drug trafficking offense.

       Pursuant to Fed. R. Crim. P. 29, a defendant may seek a judgment of

 acquittal. “The relevant inquiry is whether, ‘viewing the evidence in the light most

 favorable to the prosecution, any rational trier of fact could have found the

 essential elements of the crime beyond a reasonable doubt.’” United States v.

 Fisher, 648 F.3d 442, 450 (6th Cir. 2011) (quoting Jackson v. Virginia, 443 U.S.

 307, 319 (1979)) (emphasis in original). “Under the Jackson v. Virginia standard,
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 a reviewing court does ‘not reweigh the evidence, re-evaluate the credibility of

 witnesses, or substitute [its] judgment for that of the jury.’” Id. (citation omitted).

 “‘Substantial and competent circumstantial evidence by itself may support a

 verdict and need not remove every reasonable hypothesis except that of guilt.’” Id.

 (citation omitted).

       A motion for a new trial is governed by Fed. R. Crim. P. 33, which provides

 that the Court may “vacate any judgment and grant a new trial if the interest of

 justice so requires.” Fed. R. Crim. P. 33(a). “The paradigmatic use of a Rule 33

 motion is to seek a new trial on the ground that ‘the jury’s verdict was against the

 manifest weight of the evidence.’” United States v. Munoz, 605 F.3d 359, 373 (6th

 Cir. 2010) (citation omitted). “Generally, such motions are granted only ‘in the

 extraordinary circumstance where the evidence preponderates heavily against the

 verdict.’” United States v. Graham, 125 F. App’x 624, 628 (6th Cir. 2005) (citation

 omitted). The district judge may act as a thirteenth juror, assessing the credibility

 of witnesses and the weight of the evidence. United States v. Lutz, 154 F.3d 581,

 589 (6th Cir. 1998). “The defendant bears the burden of proving the need for a new

 trial and such motions should be granted sparingly and with caution.” United States

 v. Turner, 995 F.2d 1357, 1364 (6th Cir. 1993).

       In this case, Defendant has met neither the standard for an acquittal under


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 Rule 29 nor the standard for a new trial under Rule 33. Defendant primarily argues

 that there was insufficient evidence to convict him on all three counts. Contrary to

 Defendant’s argument, however, the government introduced voluminous evidence

 that Defendant was the leader of a drug conspiracy over a number of years. This

 evidence included the testimony of co-conspirators, seized cocaine and marijuana,

 testimony of chemists regarding the seized drugs, photographs, and telephone

 recordings. Likewise, the government introduced substantial evidence to support

 the money laundering and firearms counts, including witness testimony, seized

 currency, firearms, and ammunition, photographs, video, and recorded telephone

 calls. Based upon the ample evidence introduced, a rational trier of fact could have

 found the essential elements of each of the three counts. The weight of the

 evidence supports the jury’s verdict.

       Accordingly, IT IS HEREBY ORDERED that Defendant’s motion for

 judgment of acquittal or for a new trial is DENIED.



                                         s/John Corbett O’Meara
                                         United States District Judge


 Date: May 12, 2015




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       I hereby certify that a copy of the foregoing document was served upon
 counsel of record on this date, May 12, 2015, using the ECF system.


                                      s/William Barkholz
                                      Case Manager




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